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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

In re:                             §
                                   §
PAYSON PETROLEUM 3 WELL,           §       CASE NO. 17-40179
L.P.,                              §
                                   §       Chapter 7
      Debtor.                      §
                                   §
                                   §
JASON R. SEARCY, CHAPTER 11        §
TRUSTEE FOR PAYSON                 §
PETROLEUM, INC.,                   §
                                   §
      Plaintiff,                   §
                                   § Adversary Proceeding No. 18-04074
          v.                       §
                                   §
ACME ENERGY COMPANY, LLC, ET. AL., §
                                   §
      Defendants.                  §

    MOTION OF VARIOUS DEFENDANTS TO DISMISS AND BRIEF IN SUPPORT

         NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
         WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
         STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
         FILING THIS PLEADING WITHIN FOURTEEN (14) DAYS FROM THE
         DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE
         UNLESS THE COURT SHORTENS OR EXTENDS THE TIME FOR
         FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
         AND FILED, THIS PLEADING SHALL BE DEEMED TO BE
         UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
         THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN
         A TIMELY MANNER, THE COURT WILL THEREAFTER SET A
         HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR
         AT THE HEARING, YOUR OBJECTION MAY BE STRICKEN. THE
         COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
         MATTER.




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    MOTION OF VARIOUS DEFENDANTS TO DISMISS AND BRIEF IN SUPPORT

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

         COME NOW the defendants listed on Exhibit “A” hereto (the “Movants”),1 all of whom

are defendants in the above styled and numbered adversary proceeding (the “Adversary

Proceeding”) filed by Jason R. Searcy, Chapter 11 Trustee (the “Plaintiff”), and file this their

Motion of Various Defendants to Dismiss and Brief In Support (the “Motion”), respectfully

stating as follows:

                                                  I.      SUMMARY

         1.       The Movants are shocked that the Plaintiff would obtain an allowed claim from

this Court, based on a subscription turn-key agreement, and then to seek to recover that claim

from the Movants as alleged general partners, when the District Court has found that the

Movants are the victims of fraud, that that fraud was committed by the Plaintiff’s company, and

that the turn-key agreement was itself fraudulent.2 The Movants, already defrauded once, are

now sued by the perpetrator of that fraud to recover the very fruits of the fraud.3

         2.       Those issues will be raised and addressed at the proper time. For now, the Court

should dismiss this action for two reasons that appear as issues of law. First, because the

Plaintiff is not the trustee, he has no standing under section 723(a) of the Bankruptcy Code and

this Court is without jurisdiction over his claim. Indeed, he is violating the automatic stay by

asserting control over what is property of the estate. Second, because the Movants did not sign



         1
                     For ease, Exhibit “A” matches the defendant names as listed by the Plaintiff in his complaint. The
Movants do not, by so listing themselves, represent that the Plaintiff has correctly spelled their names or that any of
the artificial entities listed on Exhibit “A” exist or are in good standing.
         2
                  See Civil Action 4:16-cv-902, E.D. Tex. (October 9, 2018 at docket no. 16).
         3
                  The Movants in no way suggest that Mr. Searcy participated in any fraud. Only that, as the
Chapter 11 trustee, he steps into the shoes of the debtor. See In re Segerstrom, 247 F.3d 218, 224 (5th Cir. 2001).

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the bankruptcy petition, the Court has necessarily found that they are not general partners, such

that collateral estoppel and res judicata now apply; alternatively, the bankruptcy case must be

dismissed as having been unauthorized, again leaving the Court without jurisdiction. Because

these defects are not curable, the Movants seek a dismissal with prejudice.

                                           II.       BACKGROUND

       3.       Because this Motion is predicated on Rule 12(b)(1), as incorporated by

Bankruptcy Rule 7012, it is appropriate to consider evidence on this motion with respect to the

Plaintiff’s standing. See, e.g., Ramming v. U.S., 281 F.3d 158, 161 (5th Cir. 2001). Unlike Rule

12(b)(6), this may include deciding disputed facts. See id. Importantly, the burden of proving

jurisdiction rests on the party asserting jurisdiction, meaning that the “plaintiff bears the burden

of proof that jurisdiction does in fact exist.” Menchaca v. Chrysler Credit Corp., 613 F.2d 507,

511 (5th Cir. 1980). There are two types of jurisdictional attacks: a facial attack and a factual

attack. See id. A facial attack, “requires the court merely to look and see if plaintiff has

sufficiently alleged a basis of subject matter jurisdiction, and the allegations in his complaint are

taken as true for the purposes of the motion.” Id. “A ‘factual attack,’ however, challenges the

existence of subject matter jurisdiction in fact, irrespective of the pleadings, and matters outside

the pleadings, such as testimony and affidavits, are considered.” Id.

       4.       Here, the Movants make a “factual” attack, meaning that the Court does not

presume the Plaintiff’s allegations to be true and meaning that the Plaintiff bears the full burden

of proof on the issue of jurisdiction. The issue is not subject matter jurisdiction as is usually

considered under 28 U.S.C. § 1334—the Movants admit that there is general “related to”

jurisdiction, albeit non-core—but rather Constitutional jurisdiction because the Plaintiff lacks

standing to assert his claims and this Court’s order purporting to grant that standing is



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Constitutionally void. The only evidence needed is evidence that appears of record and of which

the Court should, and for jurisdictional purposes must, take judicial notice.

         5.       The Plaintiff’s claim is simple: the Plaintiff claims that he has an allowed claim

against the debtor’s estate, and that the Movants, as alleged general partners of the debtor, are

jointly and severally liable for that debt under section 723(a) of the Bankruptcy Code. However:

         (i)      Payson Petroleum 3 Well, L.P. (the “Debtor”) filed its petition on January 31,
                  2017 under Chapter 7;

         (ii)     Christopher Moser (the “Trustee”) is the duly appointed Chapter 7 trustee of the
                  Debtor and its bankruptcy estate (the “Estate”);

         (iii)    the Plaintiff is not the trustee of the Debtor or the Estate;

         (iv)     the Debtor’s petition was signed only by 3 Well MGP, LLC, as the only general
                  partner of the Debtor, see Bankruptcy Case Docket No. 1 at p. 4;

         (v)      the Debtor’s statement of financial affairs lists only two general partners, 3 Well
                  MGP, LLC and Payson Petroleum Grayson, LLC, see Bankruptcy Case Docket
                  No. 2 at p. 32; and

         (vi)     the debt that the Plaintiff sues on arose either as of the petition date or October 27,
                  2017, when the Court entered its order approving the settlement agreement
                  between the Plaintiff and the Trustee that is the basis of the Plaintiff’s claims as
                  pled in his complaint.

         6.       There is no question of fact that this Court’s order approving said settlement, see

Bankruptcy Case Docket No. 34 (the “Settlement Order”), provides that the Plaintiff will have

standing over the section 723(a) claims and that the Plaintiff is appointed the “representative” of

the Estate for that purpose. As the Movants explain below, however, this Order is void insofar is

it purports to grant the Plaintiff standing.4



         4
                  The Movants do not believe that they are required to seek relief under Rule 60(b) or Bankruptcy
Rule 9024 from the Settlement Order, since it is void. Nevertheless, they reserve their right to seek such relief if the
Court determines otherwise. Any motion seeking such relief should relate back to the filing of this Motion.
Alternatively, they respectfully request that the Court treat this Motion as a motion seeking such relief. The
Movants also believe that the Settlement Order in total, together with the judgment agreed to pursuant to that order,
should be set aside as fraudulent, including the claims allowed by this Court to the Plaintiff. The Movants do not

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         7.      Finally, the Court should consider the Memorandum Opinion and Judgment of the

District Court in Civil Action 4:16-cv-902, wherein the District Court concluded that various

individuals, who are not the Movants herein, committed fraud on the Movants through their use

of the Plaintiff’s pre-bankruptcy debtor, and that said fraud was based in part on the very

subscription turn-key agreement that the Plaintiff asserts as the basis of his alleged allowed

claim.

                             III.      ARGUMENTS AND AUTHORITIES

A.       NO STANDING UNDER SECTION 723

         8.      The Plaintiff’s sole cause of action is under section 723(a) of the Bankruptcy

Code. See Complaint at ¶ 16. That section also, by its express terms, applies to and encapsulates

any non-bankruptcy claim against a general partner for the partnership’s debts. See 11 U.S.C. §

723(a). Under 11 U.S.C. § 723:

         If there is a deficiency of property of the estate to pay in full all claims which are
         allowed in a case under this chapter concerning a partnership and with respect to
         which a general partner of the partnership is personally liable, the trustee shall
         have a claim against such general partner to the extent that under applicable
         nonbankruptcy law such general partner is personally liable for such deficiency.

11 U.S.C. § 723(a) (emphasis added).

         9.      It is clear from the language of the statute that the trustee, and only the trustee, has

standing to assert a claim under section 723(a). See In re Astroline Comms. Co. Lts. P’ship, 188

B.R. 98, 103 (Bankr. D. Conn. 1995). Here, the Plaintiff is obviously not the trustee. He may be

“a” trustee in his own Chapter 11 case, but he is not “the” trustee in this bankruptcy case.

Section 723(a) could not be clearer that it is only the Chapter 7 trustee appointed in the




believe that the Court would have allowed those claims had it known of the fraud or of the very recent fraud
judgment against the insiders and control persons of the Plaintiff’s debtor. They reserve their right to seek such
relief as well, which would also relate back to the filing of this Motion.

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underlying Chapter 7 bankruptcy case that has standing to assert a recovery against an alleged

general partner.

       10.      The Supreme Court’s opinion in Hartford Underwriters Ins. Co. v. Union

Planters Bank N.A., answers the balance of the inquiry. 530 U.S. 1 (2000). First, as the

Supreme Court confirms, “Congress says in a statute what it means and means in a statute what it

says there.” Id. at 6. Second, when Congress provides that a trustee may do something, in that

case seek recovery for a surcharge under section 506(c), it is the role of the courts to enforce this

requirement according to its terms. See id. Third, and equally as importantly, where the statute

provides that the trustee may do something, it is providing that “others may not” and that “the

trustee is the only party empowered to invoke the provision.” Id.

       11.      Therefore, as Congress created the action, and Congress provided that the Trustee

can bring the action, no other person has standing to seek relief under the action. See id. This is

further confirmed by section 541 of the Bankruptcy Code, which expressly provides that a

recovery under section 723(a) is property of the Estate. See 11 U.S.C. § 541(a)(3). It is the

Trustee and only the Trustee who is the representative of the Estate. See 11 U.S.C. § 323(a). It

is the Trustee who is required to collect and monetize property of the Estate. See 11 U.S.C. §

704(a)(1). Any contrary reading of section 723(a), as permitting standing to any person other

than the Trustee, is inconsistent with, and in actual conflict with, these other provisions of the

Bankruptcy Code.

       12.      Thus, the Plaintiff lacks standing to assert his claims in this Adversary

Proceeding. Standing is a jurisdictional requirement and, without standing, this Court lacks

subject matter jurisdiction. See, e.g., In re United Operating LLC, 540 F.3d 351, 354 (5th Cir.

2008). Therefore, the Court should dismiss this Adversary Proceeding without leave to replead.



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B.      VIOLATION OF AUTOMATIC STAY

        13.      As noted, section 723(a) authorizes only the Trustee to seek recovery. Funds

recovered under section 723(a) of the Bankruptcy Code are expressly defined as property of the

estate. See 11 U.S.C. § 541(a)(3). It is a violation of the automatic stay “to obtain possession of

property of the estate or of property from the estate or to exercise control over property of the

estate,” 11 U.S.C. § 362(a)(3), and the Movants do not see that the Court has entered an order

granting the Plaintiff relief from the stay. Thus, the Movant has asserted a claim upon which

relief cannot be granted within the meaning of Rule 12(b)(6), because the Plaintiff is violating

the automatic stay and committing statutory contempt by doing so.

C.      THE SETTLEMENT ORDER DOES NOT CHANGE THE RESULT

        14.      If the above were the only considerations at issue, the Movants would submit that

the analysis is simple. However, the complicating factor here is the Settlement Order. The

Plaintiff and the Trustee together sought the Settlement Order, which included seeking to grant

the Plaintiff standing over the Estate cause of action, and they served the underlying motion (but

apparently not the settlement agreement and proposed order) on some or many of the Movants

and Defendants, and the Settlement Order is final and non-appealable.5 The Plaintiff will no

doubt raise these issues in response to this Motion, as indeed he has referenced the Settlement

Order in his complaint. For the reasons stated below, the Settlement Order is void in these

respects and the Plaintiff may not rely on it for standing, as this Court cannot confer jurisdiction

on itself, or the Plaintiff and the Trustee cannot agree to jurisdiction, or estoppel cannot be used

to create jurisdiction.



        5
                 For the avoidance of doubt, the Movants are in no way conceding proper service of the settlement
motion or due process, and they reserve all arguments and rights with respect to the same and to seek relief under
Rules 59 or 60.

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       15.     The Settlement Order provides, in pertinent part, the following, as also provided

for in the underlying settlement agreement:

       Payson Petroleum is hereby granted standing and authority to enforce and
       prosecute the 2014 LP Avoidance Action Claims and the 2014 LP Partnership
       Related Claims without further order of this Court. Payson Petroleum is hereby
       appointed the representative of the 2014 LP bankruptcy estate for purposes of
       prosecuting the 2014 LP Avoidance Action Claims and the 2014 LP Partnership
       Related Claims pursuant to the 2014 LP Subject Claims Assignment and
       Participation Agreement.

                                                 *         *        *

       Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement
       and this Order, Payson Petroleum shall have exclusive authority to file suit,
       prosecute and settle the 2014 LP Partnership Related Claims, the 2014 LP
       Avoidance Action Claims and the Payson/2014 LP Partnership Related Claims.
       Payson Petroleum is under no duty to initiate any litigation or to take any action
       with respect to the 2014 LP Partnership Related Claims or the 2014 LP
       Avoidance Action Claims that in its judgment would not be cost justified.

Bankruptcy Docket No. 34 at ¶¶ 10 & 12.

       16.     The foregoing definitional phrases would include the current section 723(a)

claims, as more fully defined in the underlying settlement agreement. Thus, as the Plaintiff will

no doubt argue, this Court entered a specific order granting him standing, and there is nothing to

be done about this order at this time without relief under Rule 60(b) or Bankruptcy Rule 9024,

which no one has sought. Importantly, however, the Estate’s claims and causes of action under

section 723(a) have not themselves been assigned to the Plaintiff. Instead, all that has been

assigned is a fifty percent (50%) interest in the “net recovery” on the claims. See Bankruptcy

Case Docket No. 31-1 at pp. 22-25 of 236. In other words, the Estate still owns the causes of

action, even if the Plaintiff has been sold an interest in the net proceeds and even though the

Plaintiff has purportedly been given standing.

       17.     Initially, the Movants point out that this Court cannot override or change the

language of the Bankruptcy Code as it did with the Settlement Order, any more than this Court
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could change the insider preference lookback to 4 years from 1, or increase the number of

petitioning creditors for an involuntary from 3 to 5, or reduce the number of votes needed for a

class to carry from 50% to 35%: “a bankruptcy court may not contravene specific statutory

provisions.” Law v. Siegel, 571 U.S. 415, 421 (2014). In each of these examples, as with Law v.

Siegel, and as with the Settlement Order, the Court would be changing the language of the statute

itself, as opposed to augmenting it, or fashioning a remedy to enforce it, or filling-in a point or

answering a question that may not be in the statute or that may not be clear. That is a legislative

function that this Court simply cannot do Constitutionally, given the separation of powers, and

that this Court cannot do prudentially, because then there is no purpose to having a statute in the

first place. See id. at 421-22 (additionally concluding that bankruptcy court’s equitable powers

cannot override a specific statutory provision, no matter how compelling).

       18.     Nor does section 105(a) of the Bankruptcy Code empower the Court to override

the text of section 723(a) because section 105(a) cannot be used to create rights and is not “a

roving commission to do equity.” See id. See also U.S. v. Sutton, 786 F.2d 1305, 1308 (5th Cir.

1986). Likewise with respect to the Settlement Order naming the Plaintiff the “representative”

of the Estate. This is possible under 11 U.S.C. § 1123(b)(3)(B), which provides for an estate

representative to prosecute estate causes of action, but that section expressly applies only in

Chapter 11. See 11 U.S.C. § 103(g). The absence of any comparable provision in Chapter 7 is

not only telling, it is determinative. Again, as with Law v. Siegel, the Court cannot simply read a

provision into the statute that is not there, despite the potential facts and equities involved. And,

unlike with Chapter 11, there is no possibility of derivative standing for estate causes of action in

Chapter 7.6


       6
               As one court aptly explained:


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        19.      The foregoing is simply to say, respectfully, that this Court erred when it entered

the Settlement Order because this Court lacked the authority to do what it did. This is not the

end of the discussion, because the Movants acknowledge the body of case law holding that a

bankruptcy court order cannot be collaterally attacked even if it is wrong on its face. However,

this does not apply to the Constitutional jurisdictional analysis, which is the fundamental

problem with both the Settlement Order and the Plaintiff’s argument.

        20.      With respect to the fact that this Court entered the Settlement Order and the

Settlement Order provides what it provides for, the Movants’ response is simple: standing is a

Constitutional issue and one that may be raised at any time. See, e.g., Warth v. Seldin, 422 U.S.

490, 499-500 (1975). Standing goes to the Court’s subject matter jurisdiction, which itself is

Constitutional in part, since the Court exercises the District Court’s Article III jurisdiction. See,

e.g., Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 102 (1998); In re United

Operating LLC, 540 F.3d 351, 354 (5th Cir. 2008) (“[s]tanding is a jurisdictional requirement”).

This Court has an independent duty to examine its subject matter jurisdiction. See, e.g., Arbaugh

v. Y&H Corp., 546 U.S. 500, 514 (2006) (“courts, including this Court, have an independent



        In Chapter 7, unlike Chapter 11, there is always a trustee in place. There is not the potential for a
        conflicted board of directors pulling its punches. There is not the risk of the proverbial fox
        guarding the henhouse. The trustee does not have the potential for conflicts of interest that a
        debtor-in-possession sometimes has, since the trustee has no prepetition relationship with the
        debtor’s management, shareholders or creditors. The trustee has a unique role as an independent
        fiduciary, with a completely different perspective and interest in a bankruptcy estate than either a
        debtor or an individual creditor. The trustee also is expected to be a gatekeeper and to exercise
        reasonable business judgment in deciding what actions to bring and what are not worth the
        expense. In theory at least (and hopefully in reality), the trustee is a fair, balanced, and
        experienced (not to mention bonded, see 11 U.S.C. § 322) official who can be depended upon to
        exercise good litigation judgment. Because of the unique role of a trustee, there would seem to be
        no equitable rationale to deviate from the Bankruptcy Code's apparent remedial scheme vis-a-vis
        avoidance actions and other estate causes of action. If creditors do not like the job the trustee is
        doing, they can file a motion to compel him or her to act, or a motion for removal of the trustee.

In re Cooper, 405 B.R. 801, 812 (Bankr. N.D. Tex. 2009).



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obligation to determine whether subject-matter jurisdiction exists, even in the absence of a

challenge from any party”).

       21.     In this respect, several principles are elemental. First, this Court cannot—indeed,

no court can—enter an order that overrules the Constitution. Second, this Court cannot enter an

order that confers jurisdiction on itself: “the fact that the bankruptcy court, in the orders

approving the bankruptcy sale and later in the plan of reorganization, purported expressly to

assume jurisdiction to entertain such proceedings could not confer jurisdiction. A court cannot

write its own jurisdictional ticket.” Zerand-Bernal Group Inc. v. Cox, 23 F.3d 159, 164 (7th Cir.

1994). By analogy with respect to a confirmed plan, as the District Court has held, “[a]

bankruptcy court cannot write its own jurisdictional ticket by including such a provision in a

confirmed plan of reorganization.” Enterprise Fin. Group Inc. v. Curtis Mathes Corp., 197 B.R.

40, 46 (E.D. Tex. 1996). Third, the action of the parties and an agreement between them, even if

approved by a court, cannot confer jurisdiction where that jurisdiction does not otherwise exist.

See, e.g., Graham v. Hill, 444 F. Supp. 584, 588 (S.D. Tex. 1978). Simply put, “no action of the

parties can confer subject-matter jurisdiction upon a federal court.” Insurance Group of Ireland

Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 702 (1982).

       22.     In sum, no action or agreement of the Plaintiff, the Trustee, and this Court can

change the jurisdictional issue. No order entered by this Court can change the jurisdiction issue

or confer jurisdiction. The Settlement Order simply does not matter for purposes of subject

matter jurisdiction because subject matter jurisdiction is what it is. And, since subject matter

jurisdiction is an ongoing issue that the Court must itself analyze at each stage, all that matters is

that Congress provided that the Trustee—and only the Trustee—can recover under section

723(a). Congress has told this Court who the sole person is that can come before this Court for

redress under that statute and, since the Plaintiff is not that person, there is no redress to be had
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and therefore no present case or controversy to try. As there is no present case or controversy to

try, there is no Constitutional jurisdiction. See, e.g., Whitmore v. Arkansas, 495 U.S. 149, 155

(1990). As such, the jurisdictional statute—whether 28 U.S.C. § 157 or 28 U.S.C. § 1334—does

not matter, since there can be no statutory jurisdiction without Constitutional jurisdiction. See

Stern v. Marshall, 564 U.S. 462, 488-89 (2011).

       23.     The Plaintiff may point out that bankruptcy court orders are to be enforced unless

and until set aside, and that they cannot be collaterally attacked, even if wrong. See, e.g.,

Republic Supply Co. v. Shoaf, 815 F.2d 1046, 1050 (5th Cir. 1987). This is generally true, and

one sees it occasionally with respect to confirmed plans, discharge orders, and third party

releases. See, e.g., United Student Aid Funds Inc. v. Espinosa, 559 U.S. 260, 272-74 (2010);

Travelers Indem. Co. v. Bailey, 557 U.S. 137, 152-53 (2009). But this cannot and does not apply

to questions of Constitutional jurisdiction—a jurisdictional attack is not a collateral attack

because of the Court’s ongoing, ever present, and independent duty to analyze its jurisdiction.

See, e.g., Jacuzzi v. Pimienta, 762 F.3d 419, 420 (5th Cir. 2014) (“any judgment may be

collaterally attacked if it is void for lack of jurisdiction”). In other words, the Movants do not

need to first seek relief under Rule 60(b) with respect to this Court’s order, since this Court’s

order, to the extent the Court conferred standing on the Plaintiff, is void on its face. See id.

       24.     Likewise, the Plaintiff may point out that he served the underlying settlement

motion leading to the Settlement Order on various of the defendants in this action, who did not

object. This too is immaterial, for principles of estoppel, and a party’s action or inaction, cannot

confer jurisdiction where it does not exist. See Insurance Group of Ireland Ltd. v. Compagnie

des Bauxites de Guinee, 456 U.S. 694, 702 (1982).

       25.     On the question of service, there is also the question of due process, because the

Plaintiff’s service of the underlying settlement motion did not fairly or Constitutionally inform
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any defendant of what relief the Plaintiff was seeking. The Movants did not file proofs of claim

in the Bankruptcy Case, so they had not subjected themselves to the personal jurisdiction of the

Court. This means that, to confer personal jurisdiction over them, the Plaintiff would have had

to do something more than simply mail a copy of a routine motion to them. He would have had

to serve a summons with the motion.7 Moreover, the motion that the Plaintiff did serve did not

inform the Movants that the Plaintiff would be seeking standing to sue them. While the motion

uses phrases such as “standing to prosecute . . . Partnership Related Claims in the 2014 LP

bankruptcy case,” these phrases are not defined in the motion. They may be defined in the

couple hundred pages of exhibits to the motion, but those exhibits were not served (according to

the certificate of service to the motion).

        26.      “If a court lacks jurisdiction over the parties because of insufficient service of

process, the judgment is void.” Recreational Props. Inc. v. Southwest Mortg. Serv. Corp., 804

F.2d 311, 314 (5th Cir. 1986). For due process to be complied with, notice does not have to be

perfect but it must be reasonably calculated to inform. See Mullane v. Central Hanover Bank &

Trust Co., 339 U.S. 306, 314-15 (1950). Simply mailing a copy of a motion without exhibits to a

stranger to the proceeding, without any summons or court order requiring a response, when that

motion does not clearly inform the stranger to the bankruptcy case of what relief is being sought,

and instead uses defined terms without defining them, cannot comply with this requirement as a

matter of law. The Plaintiff’s and the Trustee’s motion provided that they were resolving

contested by claims by allowing them in various amounts and dividing various mineral interests




        7
                   The Movants acknowledge that Bankruptcy Rule 9014(b) does not require a summons. However,
the Movants are entitled to due process. Normally, where a creditor files a proof of claim or a notice of appearance,
simple service of a pleading seeking affirmative relief by mail, without a summons, would suffice. The same
considerations cannot apply when the person against whom relief is sought or will be sought in the future is a
stranger to the bankruptcy case.

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between them. Nowhere are alleged general partners informed that they may be sued for the

“agreed debt” and that they may be sued by a different person for the alleged debt. The motion

and Settlement Order may be valid as between the two trustees, but it cannot be binding on the

Movants.

D.     EFFECTS OF MOVANTS NOT SIGNING BANKRUPTCY PETITION

       27.     The Bankruptcy Code is clear that a case involving a partnership is an involuntary

case if the petition is signed “by fewer than all of the general partners in such partnership.” 11

U.S.C. § 303(b)(3)(A).         A petition signed by fewer than all general partners cannot be a

voluntary petition and cannot constitute the “order for relief,” instead at best being treated as a de

facto involuntary petition until the bankruptcy court actually conducts the involuntary trial. See,

e.g., In re Century/ML Cable Venture, 294 B.R. 9, 29 (Bankr. S.D.N.Y. 2003); In re Memphis-

Friday’s Ass’n, 88 B.R. 821, 825-26 (Bankr. W.D. Tenn. 1988). Here, all of the Movants are

now alleged to have been general partners of the Debtor, but not all of them signed the petition.

Hence the paradox: either they are not general partners, or the bankruptcy case itself was not

properly filed and must be dismissed, or it must be considered a still pending de facto

involuntary.

       28.     This Court has entered a number of orders in the Bankruptcy Case at the behest of

the Trustee and others, including the Settlement Order, as well as multiple claim disallowance

orders. The Court has proceeded, certainly believed, and entered orders, as though the case was

a voluntary filing signed off by the appropriate authorities. The Court entered an order granting

the Trustee’s application to employ counsel, for example, in which application the Trustee

represented that the Debtor filed a voluntary petition. See Bankruptcy Case Docket No. 10 at ¶

3. The Plaintiff made the same representation to the Court in the settlement motion leading to

the Settlement Order. See Bankruptcy Case Docket No. 31 at ¶ 3. Everything would have been
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different, and the Court would not have entered any of the orders that it did, if all of these

pleadings began with “on such and such date an involuntary petition was filed against the alleged

debtor.”

       29.     Collateral estoppel requires that “(1) the issue at stake must be identical to the one

involved in the prior action; (2) the issue must have been actually litigated in the prior action;

and (3) the determination of the issue in the prior action must have been a part of the judgment in

that earlier action.” In re Southmark Corp., 163 F.3d 925, 932 (5th Cir. 1999).

       30.     In the Settlement Order, for example, the Court found that it had jurisdiction

under Title 28 and additionally that “the Court may enter a final order consistent with Article III

of the United States Constitution.” The Court also found that the Trustee was the trustee of the

Debtor. The Court also found that “the legal and factual basis set forth in the Motion . . .

establish just cause for the relief granted herein.” Yet, to make any of these findings, the Court

would have had to conclude that the Debtor’s petition was proper; i.e. that an order for relief had

been entered. How else could the Court conclude that the Trustee was the Chapter 7 trustee of

the Debtor, for example, when the mere act of filing an involuntary petition does not lead to the

appointment of a trustee unless expressly requested and granted. See 11 U.S.C. § 303(f) & (g).

Who was the Trustee who filed the motion unless he represented the Estate and, since he was

automatically appointed by the U.S. Trustee, he was appointed not pursuant to section 303(g),

but rather section 701(a), which applies after entry of the “order for relief.” Thus, the Debtor’s

petition must have effectuated the “order for relief” itself, as certainly everyone believed, and as

this Court clearly found and concluded. But then, that means that the Debtor had only the one

general partner who signed the petition. Otherwise, there could have been no order for relief,

only an involuntary petition still not ruled on, and no Trustee and so on.



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       31.     Therefore, the same issue is involved now as then: who are the Debtor’s general

partners? The issue was actually litigated in the prior action because the Plaintiff and the Trustee

sought precisely the order that they received, and made precisely the arguments concerning the

Court’s jurisdiction and authority and the appropriateness of the settlement motion and

proceedings. And, the determination of the issue was a part of the judgment both implicitly and

explicitly due to the Court’s actual finding.

       32.     The Court should therefore conclude one of two things. The Court can conclude

that the Debtor’s petition was a valid, voluntary petition, as the Court has necessarily found, in

which case that finding is binding and none of the Movants can be a general partner. Or, the

Court can conclude that, if the Plaintiff’s claim is correct, then the petition was at best a de facto

involuntary petition and the Court had no jurisdiction to enter the Settlement Order and has no

jurisdiction now over the current claims, and may never have that jurisdiction unless and until

the de facto involuntary petition is adjudicated. But in no event can the Court conclude, based

on collateral estoppel and the integrity of its own orders, that the petition was a valid voluntary

petition and that the Movants were general partners of the Debtor.

       33.     On the issue of timing, a general partner is not liable for partnership debts arising

prior to becoming a general partner. See TEX. BUS. ORG. CODE ANN. §§ 152.304(b); 153.152(b).

A general partner of a limited partnership is not liable for the debts of the partnership incurred

after he is no longer a general partner. See id. at § 153.161. The only basis for the Movants’

alleged liability arises under a contract entered into between the Plaintiff and the Trustee after

the petition date. As the Court has necessarily found that none of the Movants were general

partners as of the petition date, since the petition was not an involuntary petition and since the

Trustee was appointed automatically by the U.S. Trustee, as a matter of law none of the Movants

can be liable for the alleged debt.
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       34.     Therefore, whether under a jurisdictional analysis under which the Court had no

jurisdiction to enter the Settlement Order and has no jurisdiction to entertain the current

Adversary Proceeding, since at most there is a de facto involuntary petition without an order for

relief entered, or under a failure to state a claim upon which relief can be granted analysis, under

which the alleged basis of liability arises after the Movants were no longer alleged general

partners, dismissal is appropriate. No amount of repleading can cure the jurisdictional issue, so

leave to replead the complaint should be denied in that respect. If the question is the date that the

alleged debt arose, and if the Plaintiff can plead the elements required for such alleged date and

liability, any leave to replead should be limited solely to that issue.

                                                IV.       PRAYER

       WHEREFORE, PREMISES CONSIDERED, the Movants respectfully request that the

Court enter an order dismissing this Adversary Proceeding with prejudice and granting them

such other and further relief to which they may be justly entitled.

       RESPECTFULLY SUBMITTED this 24th day of October, 2018.

                                                                MUNSCH HARDT KOPF & HARR P.C.

                                                                /s/ Davor Rukavina
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                                        CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 24th day of October, 2018, a true and
correct copy of the foregoing document was served upon the attached service list via the Court’s
CM/ECF system and/or first-class U.S. mail, postage prepaid, including on counsel for the
Plaintiff.

                                                                   /s/ Davor Rukavina
                                                                      Davor Rukavina, Esq.




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                                                     EXHIBIT “A”


1       Acme Energy Company, LLC
2       Gary W. Amerson
3       Jeffrey D. Carter
4       Flynt Family Incorporated
5       Ryan Grossman
6       Luis Gonzalez
7       Marc Henn
8       Thomas J. Hinshaw
9       Thomas J. Hoppe
10      KAPAA LLC
11      Timothy H. Moore
12      Gerald L. Myer
13      Thomas Partridge
14      Lois Partridge
15      Jay Pond
16      Rose Sobel Revocable Trust
17      Kelly Dean Sanders
18      Janys Schroeder (c/o Stephen Brown)
19      Raymond A. Smith
20      Janet S. Smith
21      Trewitt Living Trust
22      Wailua LLC
23      Jimmie R. Walker
24      Steven Wiesenfeld
25      Carolyn Wiesenfeld
26      Wildflower LLC
27      David J. Zawisha
28      3 Well MGP, LLC

29      4 in 1 LLC
30      Warren V. Bush
31      Fay L. Bush
32      Carrie R. Dahmer Revocable Trust
33      The Kurt & Linda Erickson Estate Trust
34      Hupakoe, LLC
35      Michael Niemann
36      Julie Wakeman
37      Riverstone Resources, Ltd.




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